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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT

 

 

Bridgeport Division
In re: Case No. 12-51120 AST a
SEIBERT, ADRIANA BY4 GY?
(CHAPTER 7) 53 2. at
. 194%,
Debtor(s). :
REPORT OF SMALL/UNCLAIMED DIVIDENDS
_, .. The undersigned trustee reports:

a : The dividend(s) payable to the creditor(s) listed in Exhibit A hereto is (are) in an amount less than
that Specified in Bankruptcy Rule 3010.
XXX

 

More than ninety (90) days have passed since the final distribution. I have made a reasonable effort
to locate those creditors who did not cash their checks within 90 days or whose checks were returned
undeliverable. The dividend(s) payable to the creditor(s) listed in Exhibit A hereto remain
unclaimed.

 

Pursuant to Bankruptcy Rule 3010 or 3011, as applicable, and 11 U.S.C. §347(a), the undersigned trustee
remits herewith a check in the total amount shown on Exhibit A for deposit into the United States Treasury,
pursuant to chapter 129 of title 28.

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ROBERTA NAPOLITANO, Trustee
350 FAIRFIELD AVENUE
BRIDGEPORT, CT 06604

(203) 333-1177

 

 

 

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OLD GREENWICH, CT 06870

EXHIBIT A
Case Name:  SEIBERT, ADRIANA
Case Number: 12-51120 ;
Creditor Claim Distrib. Small Unclaimed ;
Name and Address Number Amount Dividend Dividend :
SEIBERT, ADRIANA SURPL $229,523.81 $229,523.81
52 ARCADIA ROAD US :

TOTAL AMOUNT REMITTED TO CLERK: $ 0.00 $__ 229,523.81

 
